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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on December 6, 2019

UNITED STATES OF AMERICA : CRIMINAL NO.
V. : MAGISTRATE NO. 1:20-MJ-00184
VIOLATION:

PASCALE CECILE VERONIQUE
FERRIER, : 18 U.S.C. § 871(a)
: (Threatening to Kill and Injure
the President of the United States)
Defendant.
INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about September 18, 2020, PASCALE CECILE VERONIQUE FERRIER did
knowingly and willfully deposit for conveyance in the mail a letter addressed to and intended for
receipt by the President of the United States in the District of Columbia, containing threats to take
the life of and to inflict bodily harm upon the President of the United States, and did knowingly
and willfully otherwise make such threats, specifically, to poison and shoot the President of the

United States.

(Threatening to Kill and Injure the President of the United States, in violation of Title 18,
United States Code, Section 871(a))

A TRUE BILL

FOREPERSON

   

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\ttorney of the United States in
and for the District of Columbia
